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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

MOTANGA E. OBIA,

3929 Lumo Circle COMPLAINT AND JURY
Baltimore, M.D. 21133 DEMAND
Plaintiff,
Vv.

Case: 1:19-cv-02340 JURY DEMAND
Defendants Assigned To : Unassigned

Assign. Date : 8/2/2019
J.P. Morgan Chase & Co. Description: Employ. Discrim. (H-DECk)

601 Pennsylvania Ave N.W.
Washington D.C. 20002

Jamie Diamond
Peter L. Scher

The Carlyle Group
1001 Pennsylvania Ave NW
Washington, D.C, 20004

David Rubenstein

 

 

I. NATURE OF ACTION
Plaintiff Motanga E. Obia (hereinafter, “Plaintiff” or “Plaintiff’) brings this action against his former
employer, J.P. Morgan Chase Bank, (hereinafter, “Defendants willful violations under Washington
D.C. Human Rights Act 1977, 2-1403.16, The Americans with Disabilities Act (“ADA”), 42 U.S.C.
§ 12101 et seq.; Title VII Civil Right Act 1964 42 U.S.C. 2000e - 5g), Equal Pay Act 29 U.S.C. 206
(d)(1), Unfair Trade Practices 28-3904 and a Tortuous Interference Claim. Plaintiff continue by
alleging that each Defendant J.P. Morgan Chase & Co. and The Carlyle Group unlawfully
discriminated against him on the basis of Race, Disability, National Origin, Personal Appearance and
Credit Information. Plaintiff further alleges that J.P. Morgan Chase & Co. business practices and
decisions presented a Disparate Impact. Plaintiff seeks to recover all lost wages, salary, employment
benefits, and any other compensation denied or lost due to J.P. Morgan’s willful and intentional
violations of local and federal law; pre- and post-judgment interest, compensatory damages,
consequential damages, punitive damages, attorneys’ fees, costs, and appropriate injunctive and

equitable relief.
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II, JURISDICTION
1. This Court has subject matter jurisdiction over the claims in this action pursuant to 28 U.S.C. §
1331 and 28 U.S.C. § 1367. This Court has personal jurisdiction over Defendant because it is an agency of
the District of Columbia government and Defendant’s actions and omissions alleged herein occurred in
the District of Columbia. 0
2. Venue is proper in the District of Columbia pursuant to 28 U.S.C. § 1391 because a substantial
portion of the events or omissions giving rise to the claims asserted herein occurred in the District of

Columbia and because at all relevant times, Defendant was doing business in the District of Columbia.

3. Plaintiffs’ state law claims share all common operative facts with their federal law claims, and
the parties are identical. Resolving Plaintiffs’ federal and state claims in a single action serves

the interests of judicial economy, convenience, consistency, and fairness to the parties.

IIL INVOCATION OF ADMINISTRATIVE REMEDIES
4, Plaintiff filed a timely charge of discrimination with the District of Columbia Office of Human
Rights (““DCOHR”) on August 4, 2017 and requested a withdrawal of from The Office of Human Rights
in Washington D.C. to pursue this case in a different form.
of Plaintiff seeks to have claims removed from OHR pending investigation states as Plaintiff's
DCFMLA claims statute of limitation tolls while pending investigation in accordance to DCMR 4-1610.3
and Plaintiff's claims under DCHRA also toll in accordance to DC Code 2103.16 (a). in accordance to
DCHRA requires that the charge be withdrawn before Plaintiff my make filing a complaint in court.
6. DCOHR is a Fair Employment Practices Agency (FEPA) with which the Equal Employment
Opportunity Commission (“EEOC”) has a work sharing agreement. Consequently, Plaintiff's charge was
automatically cross-filed with the EEOC upon filing with DCOHR and withdrawn from the EEOC and
receiving a Notice of Right to Sue from the EEOC on May 8, 2019 for claims associated with The Civil
Rights Act of 1964 and The Americans with Disability Act 1990.

IV. THE PARTIES

7. Plaintiff is 34-year-old African American male who was previously employed by J.P. Morgan &

Co and hired for the position of Relationship Sales Officer —- Associate from March 28, 2016 through July
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14, 2017.

8. J.P. Morgan terminated Plaintiff upon him partially returning to work from fully protected leave
under the Washington D.C. FMLA Provision. Plaintiff was at all relevant times an eligible employee of
various protected characteristics in accordance to local and federal statutes.

9, All defendant are associated to publicly traded companies and maintains offices in New York,
New York with a regional presences in Washington, D.C. area that employs more than fifty (50)
employees in the District of Columbia with a principal place of business in Washington D.C.

10. J.P. Morgan Co. is publicly traded company whose office is in Washington, D.C. complies with
local and federal statutes and in accordance to Public Policy Jamie Diamond & Peter Scher.

11. The Carlyle Group is publicly traded company whose office is in Washington, D.C, complies
with local and federal statutes and in accordance to Public Policy David Rubenstein.

12. (| Plaintiffs primary responsibility in this position was to identify, plan and implement strategies
for client growth, cross sells and retention.

13. As part of this role, J.P. Morgan asked that Plaintiff cultivate strong relationships with clients
across all portfolios and internal partners to resolve product and service issues. The incumbent in this
position will have to demonstrate proficiency in account management, an ability to translate customer
issues into solutions, and a full knowledge of the product line and its applications or relevant experience in

other lines of business along with clear leadership success.

V. FACTS
14, Plaintiff is 34-year-old African American male who was previously employed by J.P. Morgan &
Co and hired for the position of Relationship Sales Officer — Associate from March 28, 2016, J.P.
Morgan’s Federal Government Group in Washington D.C. predominantly has been a Commercial Card
Group with a Treasury Payments component.
15. The Plaintiff primarily covered the Department of Homeland Security Commercial Card Travel
Program (GSA SmartPay Program), the Department of Defense NAFI Program (Non - GSA SmartPay
Program). Plaintiff continues by referencing that the organization was going-through an internal re-

organization and due to the organization unwillingness re-bid after a April 18, 2016 call with Leadership
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and internal partners on the GSA SmartPay Commercial Card Program, which was a substantial
percentage of the groups revenue.

16. On June 7, 2016 in Rochester, New York, a meeting was held “Defining Roles &
Responsibilities” and Dan Anderson — Senior Sales Associate referenced that the Plaintiff portfolio had
been originally been covered by “two individuals” and the Plaintiff managed the largest portfolio with-in
the group.

17. On June 30, 2016, Richard Haug sent an email at 3:02 P.M. concerning the Plaintiff performance
at a client meeting with the Department of the Air Force in San Antonio, Texas. Mr. Haug continued by
referencing that due to the Plaintiff's efforts, the client would be supportive to elevating the Banks efforts
to the “Pentagon” and how the Plaintiff was instrumental with engaging the client to that point. Cedric
Henson, Steven Patron & Doug Ray — Department of the Air Force Contracting Team referenced the
need to have a report amended to support his internal team’s efforts with extracting data for their own
internal reporting efforts. They referenced that this was a practice that was conducted in the past and
would like to repeat this practice. Plaintiff coordinated efforts with internal colleagues once he returned to
Washington D.C. and was able to obtain the approvals from Betsy Stahl — Assistant General Counsel on
July 25, 2016 at 4:11 P.M. for the Internal Reports conversation.

18. On July 28, 2016, Plaintiff referenced to several J.P. Morgan Executives an accounting
discrepancy. Plaintiff continued to inform J.P. Morgan that this is something that should be corrected
internally to the appropriate Executives. When the Plaintiff referenced the accounting discrepancy, Mr.
Haug referenced that the internal reported data was being reflected incorrectly on a quarterly basis from
the reporting team and that the Plaintiff should make manual corrections. Richard continued the
conversation by referencing that the Federal Government reports on a Fiscal Year and J.P. Morgan Chase
reports on a Calendar Year and it wouldn’t be expected for the client to follow the firm governance
policies pertaining to reporting. Plaintiff continues by referencing that the Defendant was intentionally
negligent, as the alleged issue was something that was brought to the attention of management and had the

insight to the on-going issue and the impact to the Enterprise and its performance matrix.

A. Omissions to internal and external performance matrix.
B. Impact to Tax & Compliance Obligations

C. Impact to past and present leadership bonus’s
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D.  Over-Billing (Credit Card Fee's) the Government

19. Richard Haug was abusive towards the Plaintiff and threatening when the Plaintiff re-addressed
the error and also referenced that the Plaintiff didn’t understand and continued “he was aware of the
Plaintiff's career aspirations and that if the Plaintiff did not comply, he would be a professional hindrance
to the Plaintiff's career and that the Plaintiff was brought-in to bring-in business unlike his peers’, When
the Plaintiff asked Keith Kadish to address the alleged bookkeeping issue, he referenced to “not be

brought into the matter”.

 

 

 

 

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20. Plaintiff would later reference this communication to management following the heated meeting
with Richard Haug & Keith Kadish on July 28, 2016. Plaintiff continues by referencing that Chamaye
Smith - Administrative Assistant to Eva Robinson also referenced concern about the meeting to Eva
Robinson due to the Plaintiff's emotional state post the interaction with the two Executives on July 28,
2016. Plaintiff later met with Eva Robinson concerning the interaction with Richard Haug and Keith
Kadish and addressed the un-pleasant communication with the Executives. Plaintiff continues by
referencing that management was aware of the accounting discrepancy and should have known about the
error prior to the Plaintiffs notification and its impact to internal and external performance. Plaintiff was
later advised to make the manual corrections by Eva Robinson with the support & guidance of Keith
Kadish.

21. Additionally, Plaintiff continues by referencing that somewhere post the Plaintiff's
communication with Eva Robinson, Richard Haug and Keith Kadish concerning the accounting error,
further communication was had between management — Eva Robinson and Leon Rock Jr. - Business
Analytics Executive team concerning circumventing the Finance Teams formatted protections. Eva

Robinson would later have internal conversations with the Business Analytics team concerning the alleged
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discrepancies & contractual disputes, but nothing “criminal or nefarious” was shared with the Plaintiff
pertaining those communication. Plaintiff continues that the Executives engaged a shredding exercise
“cabinet cleanup” of allegedly seasoned documents pertaining to the client (Department of Defense)
allegedly other client data. This exercise was led by Keith Kadish and aided by Donald Giordano,
Christopher Conway, as the Plaintiff unveiled himself of this exercise due to other obligations.

22. During the fourth week in third quarter of 2016, plaintiff met David Rubinstein from the Carlyle
Group while the Plaintiff was at Cosi restaurant on 10th Ave in Washington D.C. During the conversation,
Mr. David Rubenstein referenced that the Plaintiff reach out to MaryPat Decker - Administrative
Assistant. Plaintiff alleges that through a series of communication that were made (i.e. September 12,
2016 at 12:57 P.M. & October 13, 2016 at 12:32 P.M.) somewhere around this interaction with Mr.
Rubenstein, the Plaintiff became the attention of Senior Executives within J.P. Morgan Chase & Co. and
that this communication would encourage the enterprise to allow the mis-treatment of the Plaintiff due to
the visibility of Mr. Rubenstein to the Enterprise. Plaintiff alleges that Mr. Rubenstein would have made
his initial first-call to J.P. Morgan’s CEO to inquiry about the Plaintiff and from there would have expose
the Plaintiff to leadership in a negative manner and then by referencing that Jamie Diamond would then
make his first-call to his Regional Executive - Peter Sher - Head of Corporate Social Responsibility ” to
single-out the Plaintiff and encourage the Plaintiff's discharge somewhere around the initial
communication with Mr. David Rubenstein, through the management of Eva Robinson & Andrew T.
Smith (Plaintiff's First & Second-line Managers).

23. Plaintiff continues by referencing that in or around the third quarter of 2016, the enterprise began
to encourage the harassment towards the Plaintiff excessive reticule of the Plaintiff and then creating an
intolerable working environment. Plaintiff continues by referencing that Eva Robinson would
intentionally “coach” the Executives - Richard Haug & Greg Hoger in drafting disciplinary
communication in real-time by going into a conference-room aiding in the formation of the written
communication, while also incentivizing theses Executives and other similar situated Executives who
performed these tasks on behalf of the Enterprise at Ms. Robinson’s direction.

24, Plaintiff continues by referencing that on August of 2016, another event occurred that was

brought to Ms. Robinson’s attention through the interaction with Richard Haug. Mr. Haug references that
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post a client meeting, Mr. Haug engaged in abusive conduct towards the Plaintiff and became “aggressive,
abusive and reckless” driving back to the office from a client meeting with the Marines Corps Community
Services in Quantico, Virginia and the Plaintiff told Richard Haug to slow-down! This communication
was then referenced to Eva Robinson and she referenced that the matter would be addressed. Richard
Haug would later resign from the group, but remain on the books for extended period of time.

25. Plaintiff alleges that management instructed lower-level managers to engage in oppressive
behavior with the intent to make the Plaintiff's work conditions un-tolerable and in the course of doing —
so, it would aggravate the Plaintiffs stress levels and disability. Plaintiff continues by referencing that
during one meeting with Ms. Robinson, she advised that the Plaintiff “should quit” when the Plaintiff
referenced that he would like to transfer away from the group, which is communication that the Plaintiff
had echoed across the organization to several Senior, and mid-level Executives. Plaintiff continues by
referencing that Ms. Robinson was egregiously empowered to engage in this reckless form of retaliation
against the Plaintiff and even through all the communications that were made to Human Resources and
Employee Relations, Plaintiff continues by referencing that she was “‘incentivized” through a side
agreement & un-fair practices because the Enterprise had knowledge of should have had knowledge of the
conduct and that the communication disbursed by John Donnelly during the week of July 10, 2017, which
was the Plaintiff discharge-week.

26. Plaintiff continues by referencing that Ms. Robinson was in-bolden by the enterprise and that she
continued her discriminatory conduct and pervasive harassment against the Plaintiff by referencing to the
Plaintiff during the first quarter of 2017, “You can’t Win” in her attempt to find a rationale to discharge
the Plaintiff by sabotaging the Plaintiff's performance through a performance improvement Plan and
through the direction of the Leadership chain and allegedly through the aid of external parties, hence
exposing the enterprise to breaches of their fiduciary obligation to shareholders and potential data
breaches, intellectual property theft and other regulatory risk in connection to the reckless conduct.

27. Plaintiff made several communications to Human Resources concerning wanting to transition
away from the group and through those communications between Ms. Patricia David, Plaintiff interest in
wanting to connect with other managers in the New York office and she helped to introduce the Plaintiff

to Lester Owens — Global Head of Banking Operation & Rodney Miller Sr. Vice Chairman of
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Mergers & Acquisition. Through those connections, Plaintiff made c/ear communication the interest to
depart from Washington D.C. and during the communication, Plaintiff was advised to obtain counsel as it
was still un-clear the direct motivation of the harassment and sequentially made communication with
several executives within J.P. Morgan Chase & Co. about transferring away from the organization.

[Diagram 1.la]

 

 

 

Larry Pryor- (Head
of Global Recekvables
Operations) [b)
“y y
Lester Owens» (Head Charlene Balfour -
Patrice David Head of Cloval Banking (MD in Operations)
I Operations) {a) fc]

 

 

 

 

 

Berthold
MD Role In Dallas) [d]

 

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28,

During the fourth quarter of 2016, Plaintiff's medical condition began to worsen and had taken several
days away from the office because of his medical condition. Plaintiff was advised by Eva Robinson to
speak with J.P. Morgan’s internal medical division and seek an accommodation and how this department
can help an employee maintain their employment. Plaintiff further references that the manager was aware
that the Plaintiff had taken a lot of time away from the office, due to being ill and advised the plaintiff to
speak with the medical staff.

29. On December 2, 2016, Plaintiff met with Valarie Rainford - Head of Advancing Black Leaders
[1.1b (q)], and mentioned the need to transition from current group and mentioned the internal issues
within the group. Valarie Rainford mentioned that she would look into the matter, but advised that she
would be limited to what she could do to intervene. During the meeting, the Plaintiff began to have an
episode (slurred speech) and became more and more concern of addressing his health and attempting to
leave the organization. Valarie Rainford continued by referencing that the Plaintiff reminded her of her
mentee Seekou Kaaland — Managing Director Corporate and Investment Banking Division. Plaintiff later
received communication from Mr. Kaaland referencing that the Plaintiff's interaction with Ms. Rainford.
Plaintiff alleges that Valarie Rainford was aware of the “scheme”’ to push the Plaintiff out of the firm due
to the un-co-operative communication from Mr. Kaaland concerning the Plaintiffs interaction with his

mentor Valarie Rainford - Head of Advancing Black Leaders.
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30. On December 2, 2016, Plaintiff also took the opportunity to speak with Larry Pryor — MD of
Banking Operations [1.1 a (b)], who the plaintiff was in contact with pertaining opportunities within his
group and who referenced that the plaintiff was being pushed - out of the firm as he was aware of the
“scheme”. Additionally, Plaintiff was advised by a Human Resources Executive Patricia David to address
the internal conduct with Employee Relations on December 2, 2016.

31. Plaintiff initially engaged Employee Relations on December 22, 2016 to address discriminatory
conduct and had additional substantive conversations on January 3", 2017, January 5, 2017, January
11, 2017, Plaintiff and J.P. Morgan employee, Miriam Del Cruz - Employee Relations VP [1.1c (v)],
subsequently engaged in follow-up conversation about the facts to the investigation and its process.
Plaintiff continues at this point; Employee Relations had the opportunity conduct a thorough analysis of
the harassers and aid the Plaintiff in “transitioning away” from the hostile work environment. J.P.
Morgan’s Internal Registered Nurse, Penny Inker provided her approval and then requested an additional
approval from the manager Eva Robinson on January 9, 2017 at 3:12 p.m. due to the Plaintiffs medical
condition from the pervasive harassment.

328 Plaintiff continues by referencing that the Respondent continued to engage in retaliation against
the Plaintiff by denying the Plaintiff an internally approved medical accommodation by J.P. Morgan’s
internal medical staff, which caused no undue hardship to J.P. Morgan, in retaliation for engaging
Employee Relations and HR. Plaintiff requested an additional accommodation and this was addressed to
Employee Relations and management. Miriam De Cruz stated that management had advised that they
were not willing to provide an approval for an accommodation. Plaintiff was later advised by Penny Inker
— Internal Registered Nurse to seek short-term medical leave from Disability Management Team, post
the retaliatory denial by the Defendant.

33. Additionally, the communication Plaintiff made communication to Eva Robinson’s manager,
Andre T. Smith over several occasions and through those communication, he was extremely aware of the
intentional discriminatory conduct that the Plaintiff was being subjected to the frequent, pervasive and
humiliating harassing conduct that was being encouraged by the Enterprise because of David Rubenstein
communication with Senior Leaderships. Plaintiff continues that his communication would be escalated to

Andrew T. Smith’s manager Richard Stephens -Managing Director [1.1d (b)] and referenced his interest
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in the Washington D.C. group of Associates and then referenced a future training program, which would
be held in June of 2017. Richard Stephens - Managing Director, continued by referencing that if an older
or more experienced employee had more skill-sets; they would be given more responsibility. Richard also
referenced that the organization also offered Credit Banking Training and it would be a good skill to
obtain and take it somewhere else he should take the “skill-set and move-on’. Plaintiff continues by
alleging that Richard Stephens had received communication from his subordinates concerning the
Plaintiffs communication to Employee Relations and would have been aware of the full complaint and
was a part of the “scheme” to push the Plaintiff out of the organization and due to David Rubenstein and
which this communication had been communicated by other Executives outside the Plaintiff's primary
employer.

34. Plaintiff spoke to Miriam Del Cruz about racial discrimination by a J.P. Morgan executive,
Dillon Boyer (Caucasian male) - Vice President, where on April 19, 2016, Dillon Boyer approached
Plaintiff's cubical and publicly referred to Plaintiff as a “terrorist and drug dealer“ because Plaintiff had
two cellphones on his desk. Plaintiff advised Mr. Boyer to not speak to Plaintiff in that manner in front of
his colleagues. Plaintiff was advised by other member of the team Catherine Ramm, Vice President, and
Mary Nord, Vice President, and Catherine Ramm advised that Mr. Boyer is known for inappropriate
comments and that he should be ignored, Mr. Boyer would be placed under a training program.

35. Miriam Del Cruz continued her investigation concerning allegations of unsafe work environment
and workplace safety issue, which would also bring to rise a violation in accordance to Miriam Del Cruz’s
investigation and the Executive (Caucasian male) would be placed under a training program.

36. Plaintiff also made additional communication to Miriam De La Cruz that his role was miss-
classified and that his predecessors were all Vice Presidents and notation to management was made about
this month ago due to the fact that he was working in a Sales Associate capacity. Plaintiff also continued
by addressing that his compensation was drastically below market level by approximately $40,000.00.
Miriam De La Cruz would later receive a confirmation from the manager that the job paid $125,000 which
is not consistent to what was communicated to the Plaintiff from Dawn Holder — HR Recruiter on March
9, 2016. Ms. Holder referenced that the communication from Andrew T. Smith (one level manager above

Eva Robinson) that the opportunity paid $85,000 after obtaining a copy of the Plaintiff's pervious

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compensation information, at her request, even though the plaintiff continued to reference that the
competitive rate for the opportunity was $125,000 as confirmed by Eva Robinson to Miriam De La Cruz
during the first quarter of 2017.

37, Plaintiff continued the communication with Miriam Del Cruz concerning the accounting
discrepancy and she later received communication from management that there was a discrepancy and
management referenced the matter to be the “normalization of the numbers” on January 11, 2017 and
that the Plaintiff should no longer be working on the book of business, but never referenced or confirmed
if what the Plaintiff identified as an accounting error was material, as this is something that the Plaintiff
had - no insight into due to the report generation process.

38. Plaintiff continues by alleging that the Respondent was fully aware that the Plaintiff's
communication pertaining the July 28, 2016 meeting had qualified as whistleblowing activity and that all
retaliatory conduct would be made by those who were directly or in-directly reporting to her with the
intent to circumvent direct retaliatory exposure from the Plaintiff, while still subjecting the Plaintiff to
harassment at the encouragement of mixed motives. Plaintiff continues by referencing that he was placed
on a Performance Improvement Plan that was supposed to allegedly correct the Plaintiff's performance
even though Plaintiff was an Associate managing a Vice President’s book of business and moreover,
plaintiff was simultaneously asked to grow his book of business by 5%. Despite exceeded the
organization’s expectations by growing his book of business to 17%, while exceeding his peers who had a
lighter workload. Plaintiff continues by referencing that Richard Haug created the Plaintiff's year-end
review even though the guidance of Eva Robinson, even though Mr. Haug had departed from the
enterprise and also a tool to continue to generate a rationale to ease the Plaintiff out of the organization.

39. On or around February of 2017, Plaintiff met with Peter Scher - Head of Corporate Social
Responsibility, about career aspirations and transferring into a different role. Peter Scher expressed that it
would be a good idea for the Plaintiff to explore opportunities in the Commercial Banking Division of the
Bank and how he had help to make this transition for another employee some time ago to the Commercial
Banking Group, as the plaintiff as the Plaintiff alleges that Peter Scher was also aware of the internal
“scheme” to discharge the Plaintiff on behalf of Jamie Diamond and the Plaintiff's managers.

40. Around February of 2017, Plaintiff met with Peter Scher - Head of Corporate Social

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Responsibility, about career aspirations and transferring into a different role. Peter Scher expressed that it
would be a good idea for the Plaintiff to explore opportunities in the Commercial Banking Division of
the Bank and how he had help to make this transition for another employee some time ago to the
Commercial Banking Group, as the plaintiff as the Plaintiff alleges that Peter Scher was also

aware of the internal “scheme”’ to discharge the Plaintiff on behalf of Jamie Diamond and the

Plaintiffs managers. Plaintiff communicated several times to Miriam Del Cruz, Eva Robinson and
Andrew T. Smith the strong desire to transition away from the group, post Eva Robinson “outing” of the
Plaintiff as a Whistleblower during the first quarter of 2017.

41. Plaintiff continues by referencing that the harassment was beyond pervasive and humiliating due
to the management’s unfair practices as at one point, the Plaintiff alleges that words were
“confrontational” exchanged between the Plaintiff and the manager, Eva Robinson later

referenced to the employee “J know judges”. On March 5, 2017 at 9:28 P.M., plaintiff received
communication from Employee Relations concerning the Plaintiff creating an “alleged”

disruptive work environment (back and forth communication with Eva Robinson & Keith Kadish

- verbal “disruptive” incident March 6, 2017), due to the manger attempting to fabricate a

rationale to discharge the Plaintiff, creating confusion and engaging her subordinates to influence
frustration towards the Plaintiff through pervasive harassment.

42. Plaintiff would later be advised by Employee Relations not return to work the following day as
Employee Relations requested that the Plaintiff allow the Enterprise to conduct an investigation, Plaintiff
would later be advised to return to the office (48 hours) the following day, due to the consistent and
repetitive harassment by management. Plaintiff continues by referencing that Employee Relations again at
this moment had opportunity to properly investigate the root cause of the harassment and or transfer the
Plaintiff away from the hostile work environment which the Plaintiff had requested several times.

43. Prior to the Plaintiff's departure for short-term disability leave, Plaintiff received communication
from Wanda Gilliam - Executive Assistant about un-submitted travel expenses. Ms. Gilliam advised that
she was sent to aid the Plaintiff in processing these transactions, but she also “projected” that the Plaintiff
was being placed on /eave and Plaintiff alleges that Ms. Gilliam was aware of the “scheme”’. Plaintiff

allowed Ms, Gilliam to conduct her duties, but reviewed that Ms. Gilliam intentionally made error that

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would have caused an infraction with the Plaintiff and the Enterprise in accordance to the firm’s expense
policy. Plaintiff made the corrections and then made the submission as the Plaintiff alleges that Ms.
Gilliam may have been instructed to “sabotage” the Plaintiff with the intent of this being a rationale for
discharge.

44, Plaintiff continues by referencing that the Enterprise continued to take steps to interfere with the
Plaintiff's employment through methods of intrusive invasion of privacy and electronic monitoring, On
March 28, 2017, Plaintiff took short-term leave with a partial approval from J.P. Morgan internal
disability staff with a partial approval. On April 18, 2017, the Plaintiff medical leave was denied due to a
delay from the Plaintiff staff. Plaintiff received five phones from Elisa Koy - Human Resources
Executive [1.1c (e)] concerning the plaintiff's leave. Within 24 hours of the Plaintiff denial from J.P.
Morgan’s medical staff, the medical leave was fully approved after receiving the required documentation,
but on April 20, 2017, Elisa Koy sent a letter to the Plaintiff, stating that Plaintiff would be required to
return back to by May 5, 2017 or plaintiff would be terminated and was aware of the scheme.

45, While on medical leave, Plaintiff received communication from the Plaintiff's clients pertaining
check-in on the Plaintiff's medical condition and also received communication from the Plaintiff that

Defendant had handed-off the Plaintiff's book of Business to a Senior Vice President - Kevin Carr.

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46. Plaintiff alleges that the Respondent intentionally singled-out the Plaintiff, hence encouraging the
harassment by furthering the conduct through a “hub-spoke conspiracy” to restrain the Plaintiff the
opportunity of enjoying the same employment opportunities as other similar situated employees due to
discriminatory motives. Plaintiff continues that Leaderships conduct was intentional reckless,
discriminatory and at all-times had the knowledge of the risks it was subjecting the enterprise and Plaintiff
through its use of un-ethical means of serial surveillance.

47. Plaintiff continues by referencing that the Mr. David Rubenstein intentional violated his fiduciary
obligation to his Enterprise by influencing the course and decisions of J.P. Morgan Chase & Co. and the
terms and conditions of the Plaintiff's employment in capacity and hence subjecting the Plaintiff to
economic and professional harm and his involvement would be confirmed by his Jefferey Ferguson — The
Carlyle Group General Counsel as Mr. Fergusons communication referenced that Mr. Rubenstein acting
on his own behalf and not under the umbrella of the Enterprise, as the Plaintiff alleges that Mr. Ferguson
was also aware of the associated regulatory risk with the interference by David Rubenstein and its impact
to his Enterprise, hence the organizational restructuring of each respective Enterprise. Plaintiff continues
by referencing that in connection to the gross misconduct by J.P. Morgan and the associated Executives

(Jamie Diamond & Peter Scher), Mr. Rubenstein would aid J.P. Morgan Chase on several occasions

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through “public forms” engagement on enhancing its reputation in Washington D.C.and other effected
markets.

48. Plaintiff continues by referencing that the Respondent would continue to engage in the
intentional discrimination and through their efforts, would willful and recklessly discriminate against the
Plaintiff by replacing the Plaintiff while on medical-leave May 26, 2017 and by replacing the Plaintiff
with an employee outside a protected class “Michael Schwartz” - Role 170034441.

49. Plaintiff continues by referencing that J.P. Morgan Chase & Co. continued to further the
discriminatory conduct through the internal investigation by James O’Donnell - Global Security
Investigations May 30, 2017. Plaintiff continues by referencing at all times the Respondent was aware
that the Plaintiff was on medical leave, that Ms. Gilliam had taken the corrective measures into the
Plaintiff late submission and that the furtherance and timely inquiry into the Plaintiff by Mr. O’Donnell
investigator concerning an investigation into the Plaintiff employment with the firm was a continuance of
the hostility within the work environment and unfair treatment. Plaintiff also references that Mr.

O’ Donnell lied to the Plaintiff concerning the investigation and its origin and that the Respondent was
engaging in pretextual discrimination.

50. Plaintiff continues by referencing the escalation of the matter to other Senior Executives with-in
the origination as the Plaintiff wanted to ensure a fair investigation process. Plaintiff made contact with
Jim Maxon - J.P. Morgan’s Global Investigations Unit Senior Executive [Diagram 1.1b (Y)] and
referenced the issue concerning an alleged investigation into the Plaintiff's expenses. Plaintiff asked Mr.
Maxon for his support with making sure James O’Donnell conduct a thorough investigation, since he’s a
Senior Executive within that unit and is a primary point person for Jamie Diamond — Chief Executive
Officer of J.P. Morgan in the Mid-Atlantic Region. Plaintiff continued to work through the process with
the GSI team.

51. Plaintiff continues by referencing that the Enterprise would merely place the Plaintiff under an
investigation into his alleged corporate-card usage as methodology to justify a pretextual, deceptive
employment and retaliatory discharge of the Plaintiff in conspiracy between HR and the Business’s
(Diagram 1.1).

52. The Corporate Expenses in questions are as follows:

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a) $210.00 Client Re-printed Presentation at FedEx;
b) One week Hotel stay in New York (during firm sponsored training);
c) Uber Transactions that defaulted to Plaintiff's corporate card (reviewed and approved by firm’s expense

management team prior to investigation, as this was identified as an internally know issue).

53. In or around June of 2017, Plaintiff continued to attempt to make an internal transitioning from
the Washington D.C. group and Michelle Conklin —Receivables Operations referenced “bad manager”
as the Plaintiff alleges that the Plaintiff's attempts to transition was consistently being interfered with
through the encouragement of Leadership, as the Plaintiff alleges that Michelle Conklin whose direct
manager at the time referenced that the Respondent was engaging in direct discrimination by treating the
Plaintiff unfairly through its “scheme” through the encouragement of Leadership

54. On June 15, 2017 at 7:20 P.M., Plaintiff spoke with Eva Robinson concerning the Plaintiffs
partial return to the office and later received communication from Ms. Robinson referencing the Plaintiff's
return as “fully recovered” and would be working on special projects. On June 16, 2017 at 7:15 a.m.
Miriam De La Cruz referenced that her division had gone through a restructuring on April 4, 2017 and
that she no longer covers the Plaintiff's line of business. Plaintiff alleges that the re-organization of this
division was in connection to encouraging the reckless conduct by Senior Executives within the Enterprise
as all parties had knowledge of the conduct and due to the “power structure” within the Enterprise; all
associated parties engaged in the conduct & associated regulatory exposure.

55, Plaintiff escalated the matter to Pat Press and Jack Martin —- Employee Relations Executive
Directors and was later connected with Jean Hinsman & Brenda McKee — Employee Relations
Representatives, who would have had the capacity to know about the “scheme”. On June 19, 2017
Plaintiff and all colleagues were notified that a new member of the team Michael Schwartz — New
Employee [Exhibit 1.1E (T)] would be joining the team and Eva Robinson referenced that this member
would be joining J.P. Morgan the week of July 10, 2017 (which is the same week that Plaintiff was
discharged).

56. Plaintiff continues by alleging that an Eva Robinson attempted to aid the Plaintiff through the
reckless conduct as she and many other Executives with-in the organization were bystanders to the
intentional discriminatory conduct being encouraged by leadership. On June 20, 2017 at 11:02 a.m.,

received communication from “Dena Davis — USDA Acting Director/Special Investigator of the Civil

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Rights Division” due to the hostile work environment, but was unable to remember due to the report to the
EEOC to intervein with the discriminatory and pervasive conduct because of the “phycological harm”.

57. Plaintiff made communication to Jean Hinsman concerning the out-reach from Dena Davis and
Jean Hinsman referenced that the Plaintiff should make communication to management. Plaintiff later
made communication with Andrew T. Smith [Exhibit 1.1E (D)] and Eva Robinson [Exhibit 1.1E (E)] on
June 22, 2017 at 10:15 a.m. about this communication with the Government official and the Plaintiff
alleges that Andrew T. Smith was aware of the “scheme” as well. Plaintiff made several attempts to
complete his newly provided assignments and consistently received interference from management and
fellow colleagues. This treatment occurred for weeks with Eva Robinson, Andrew T. Smith, Brenda
McKee — Employee Relations [1.1¢ (x)], Jean Hinsman — Employee Relations [1.1c (x1)] and Miriam
De La Cruz all engaged in various forms of communication.

58. Plaintiff made communication to Patricia David concerning the connection with Carlo Frappolli
and she mentioned that she would be connecting with him on Thursday, June 22, 2017. Carlo Frappolli’s
team created a role at J.P. Morgan Req. ID. 170067537 — [Exhibit 1.1c (k)] on June 23, 2017 that was
directly applicable to the Plaintiff's professional skills. The role had a Department of Labor disclaimer
that was not traditional to most open opportunities at the firm, but the job was within the Public Sector and
was positioned in New York and Washington D.C., as the Plaintiff continues by referencing that this was
done to shield the enterprise from liability as Plaintiff alleges that Carlo was also aware of the “scheme”
as the Plaintiff continues by referencing that the conduct was encouraged by management.

59. Plaintiff had communications with Carlo Frappolli, Head of North America J.P. Morgan
Talent [Diagram 1.1b], began connecting Plaintiff with Sameera Sabherwal - Head of Front Office
Banking [Diagram 1.1b], and Jacqueline O'Neal - Talent Re-assignment Specialist [Diagram 1.1c (h)].
Plaintiff continues by referencing that that conduct “trickled-down” the chain and was grossly encouraged
by Leadership, Human Resources and the Business.

60. Plaintiff alleges that on June 26, 2017 and the Respondent continued to further their surveillance
through various means of stalking the Plaintiff across state-lines and allegedly monitoring the Plaintiff
inside his home. Plaintiff continues by referencing that this was done with the intent to manage the

Plaintiff outside the organization and also in relations to the Plaintiff's communication.

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61. Plaintiff references that during his meeting with Marcus Johnson— Treasury Payments General
Counsel, he continued to ask the Plaintiff probing questions pertaining the Plaintiffs relationship with his
manager and her treatment of the Plaintiff.

62. Plaintiff alleges that the more people the Plaintiff met with internally, the Respondent made
communication with pertaining the Plaintiff furthering the scheme and implicating more and more
Executives within J.P. Morgan Chase & Co. “scheme”. Plaintiff continues by referencing that on June 27,
2017, Plaintiff had a meeting with a former Citigroup colleague Mark Berg - Executive Director and
reports to Mary Callahan Erdoes — CEO of Asset & Wealth Management from Citigroup at J.P.
Morgan’s Park Ave. office. Mr. Berg and the plaintiff discuss the plaintiff attempting to transition away
from the Washington D.C. office. Mark Berg referenced to the Plaintiff that he should also reach out to
Donald Felix — Managing Director in Consumer Banking J.P. Morgan, who was also a former
Citigroup employee from the FIG - Corporate and Investment Banking Group in New York.

63. Plaintiff continues by referencing that the Respondents continued to engage in the serial criminal
conduct through the means of surveilling the Plaintiff on June 27, 2017 through the interaction with a
former Citigroup employee (Edwina Gregg) that the Plaintiff references the Respondent used to shield the
Enterprise of the known associated risk, who the Plaintiff references was sent by the manager — Eva
Robinson to direct the Plaintiff’s to the decision makers. Plaintiff continues by referencing that the
Enterprise took additional measures to monitor the Plaintiff's communication as when the Plaintiff made
communication with Mr. Felix, the communication had been reverted to Ms. Robinson and she
intentionally “vocalized” that Mr. Felix had made communication with her directly. Plaintiff alleges that
the Respondent had a technological application that allowed the Plaintiff's communication t be re-directed
to key Executives engaged in the scheme.

64. On July 6, 2017 at 6:57 p.m., Plaintiff called to Clarissa Ramos-Cafarell - Employee Relations
[1.1c (s)], and expressed that Plaintiff needed support as he has exhausted every channel on her team with
trying to obtain the opportunity to complete his work and maintain his job. Clarissa Ramos-Cafarell,
expressed that she would look into the matter that Friday afternoon, Plaintiff made contact with Daniel

Pinto’s CEO of Corporate and Investment Banking administrative assistant in London on July 6, 2017

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and she wasn’t helpful, maybe she was she was busy, but not helpful, as she referenced that she’! hold
onto the Plaintiff's communication.

65. Plaintiff continues by referencing that James O’Donnell from the Global Security Unit continued
to conspire with the other Executives to sabotage the Plaintiff with an investigation into his corporate card
usage, while effectively aligning the completion of the investigation into the alleged corporate-card mis-
usage consistent to the Plaintiff's disability coverage under Family Medical Leave Act coverage by
concluding the investigation days (2) post the exhaustion of Family Medical Leave Act days later, while
failing to take into account that the Plaintiff was covered under Washington D.C. Family Medical Leave
Act, which had not been exhausted (/36 hours remaining), through the guidance of management.

66. On July 7, 2017, Plaintiff received both verbal confirmations at 11:04 a.m. from James
O’Donnell that J.P. Morgan did not find anything fraudulent within his investigation, as the Plaintiff
referenced that his Uber account had been hacked and charges were defaulting to his corporate card “Uber
would later release communication about the 57 million user account breach”.

67. Plaintiff continues by referencing that on July 7, 2017, the Respondent engaged in the serial
surveillance of the Plaintiff with the intent to manage the Plaintiff through the use of two women under
the control of the Respondent attempting to influence the Plaintiff to depart from the enterprise in
Edgewater, New Jersey.

68. Plaintiff continues again on by referencing that was intercepted again by a Nathaniel Persily -
Stanford University Law Legal Professor and during the interaction, Mr. Persily referenced that he had
a sister that was a Professor at American University in the School of Business and the Plaintiff alleges that
those statements were meant to link the conduct back to Peter Scher.

69. During the week of July 10, 2017, Plaintiff emailed Peter Scher requesting support with
transitioning out of his group. Peter’s assistant Michelle Grasso reached out to the Plaintiff and referenced
that that Peter was currently busy and that Peter recommended touching base with Nelli Childs - HR
Executive [1.1c (c)]. Plaintiff spoke with Nelli Childs and was asked about Plaintiff area of interest and
advised the Plaintiff to speak with Ryann Engel Plaintiff HR representative. Plaintiff's HR representative
received communication from Ryann Engel, Human Resources, about communication with Peter Scher

and asked how she could be of help. Plaintiff advised Ryann Engel that Plaintiff has made several

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attempts to transition out of group and Ryann Engel was aware of Plaintiffs strong desire to transition
into a different role outside of his group, due to the pervasive harassment and Ms. Ryann was not
supportive due to the internal and potential external encouragement to displace the Plaintiff with the
encouragement of Leadership.

70. Plaintiff later communicated with Human Resource Executive Carlo Frappolli about an
opportunity 170067537 and was advised to touch base with Kenrick Wolfe - HR Recruiter. Plaintiff later
spoke with Kenrick Wolfe on July 6, 2017 at 1:00 p.m. concerning the opportunity and Plaintiff alleges
that Kenrick Wolf was a rogue employee associated with the “scheme” with the purpose of circumventing
liability from the Enterprise. Plaintiff continues by referencing that post the communication with Kenrick
Wolf, Plaintiff made communication with the hiring manager Etienne Lacroix - Executive Director
[1.1C- (L)] and Poorvi Kunzru [1.1C- (M)] about the group, who referenced that he was not aware of an
open role within this group as Human Resources continued to further the “scheme”,

71. Plaintiff continues by referencing that Enterprise intentionally monitored the Plaintiff's
communication as post the Plaintiff's communication with Poorvi Kunzru, she later had a conversation
with Keith Kadish at 10:00 a.m. and then spoke with Eva Robinson.

72. Plaintiff continues by referencing that “Higher-up” management had the intent to
retaliate/discharge the Plaintiff in violation of the Plaintiff Civil Rights and began to engage in methods to

“shield the Enterprise from the reckless scheme” the same week of the Plaintiff's discharge by:

A. Making changes to the Enterprise Employment Manual (Plaintiff alleges that these changes were meant to cause
adverse effect onto the Plaintiff) - On behalf of the Head of Human Resources John Donnelley

B. —_Disburse Company Policy to the Plaintiff pertaining the Enterprises video and audio recording communications Policies
- On behalf of the Head of Human Resources John Donnelley

C. — Disburse Company Policy to the Plaintiff pertaining the Enterprises Un-fair hiring practices or side employment
agreements- Ou behalf of the Head of Human Resources John Donnelley

D. _Disburse Company Policy to the Plaintiff pertaining the Enterprises from Daniel J. Conti - Head of Employee
Assistance at 10:06 a.m. on July 11, 2017 Program [1.1c (21)] concerning the Plaintiff taking a “Stress Assessment”
Plaintiff alleges that this was conduct on the basis of gathering the Plaintiffs medical information to shield the

Enterprise from liability,

73. Plaintiff continues by referencing that Senior Leadership was aware and alleges that it had
evidence of the un-savory, reprehensible and un-ethical conduct of several Executives. Plaintiff continues

by referencing that the Enterprise intentionally engaged in gross mis-conduct on the basis of attempting to

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find another pretextual rationale of discharging the Plaintiff by advising colleagues to make fabricated and
slanderous allegations into the employee hotline referencing that the employee as a “Direct Threat &
Health Risk to others” in the workplace. On July 14, 2017, Plaintiff alleges that Eva Robinson received
the approval for the Plaintiff's discharge from higher-up management and Ms. Eva Robinson yelled
“Docket” indicating that the Plaintiff had a “lawsuit”. Plaintiff continues by referencing that Eva
Robinson requested that Shawn Darling — Executive Director attend the Plaintiff's dismissal meeting and
Ms. Robinson referenced that the internal investigation conducted by James O’Donnell references that the
should be discharged, even though the internal investigation that was conducted by the same investigators
referenced that nothing was discovered to be fraudulent in his findings (/n writing and verbally). Plaintiff
was advised by Senior Executive Seekou Kaaland as common practice to discharge an employee. Once
Ms. Robinson advised the Plaintiff of the discharge, she attempted to rush the Plaintiff out of the office
while Daniel Zelikow — Co-Head of Public Sector Infrastructure Finance and several employees “over
a dozen” from other departments watched the plaintiff walkout of the office. To add insult to injury,
Plaintiff references that the Enterprise had called a Security Guard to remove the Plaintiff from the office.
Once Ms. Robinson escorted the Plaintiff outside the building, the Security officer intercepted the Plaintiff
without further contact between the Plaintiff and the Security Guard.

74. On July 14, 2017, Plaintiff sent a communication to several Executives that the Plaintiff had
communication with or associates within the organization which the Plaintiff alleges would expose the
discriminatory and un-ethical conduct by all associated parties. Plaintiff received a phone call with-in
minutes from Clarissa Ramos-Cafarell -- Global Employee Relations Executive asked the Plaintiff
“what was referenced as the rationale for discharge”.

75, Plaintiff called Daniel Pinto - Head of Corporate and Investment Banking CEO on July 17,
2017 at 4:24 P.M. while in London and referenced that he was unable to speak. Plaintiff later received
communication from Robin Leopold — Global Head of Human Resources [1.1c (b)] post the
communication, but the Plaintiff was unable to make the communication. On July 19, 2017 received
several communications from Employee Relations concerning an appeal of the Plaintiff's employment
termination from Jean Ginsberg and the matter was later transferred to the complexity to Clarissa Ramos-

Cafarell — Global Employee Relations Executive.

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76. On July 21, 2017, Plaintiff received communication from Patricia David - Human Resources
Executive concerning the plaintiff's discharge. She asked if “The Plaintiff returned to the office to sue Eva
Robinson” and she admitted that the Plaintiff was Treated Unfairly, Crime, Crisis and she continued by
referencing that the Plaintiff was defending himself and in a separate communication referenced that the
conduct was not committed by his manager, but also mentioned that the Plaintiff can PROVE everything!

77, Plaintiff continues by referencing that during the July 21, 2017 call, Patricia David asked the
Plaintiff why he made the phone-call into Employee Relations and the Plaintiff referenced because you,
Ms. David told the Plaintiff to do so in connection to the harassment. Plaintiff continues by referencing
that during the investigation into the harassment allegations, the Employee Relations representative had
the opportunity to discover the root-cause of the harassment, and alleges due to its complexity and
normalization of the conduct failed or refused to prevent the conduct from persisting, but encouraged the
conduct by using means to aid the process and shield the harassers and enterprise from liability due to the
overwhelming power-imbalance, while incentivized bad and repulsive behavior.

78. Plaintiff continues by referencing that the enforcement standard of associated claims would
nudge the respective Respondents to engage in a rampage of “global diversity initiatives” post the
Plaintiffs communication and out-sponkenness to leadership ability on “Jamie Diamond should take the
lead on diversity and women initiatives”, as the Plaintiff alleges that the Board of Directors may have
been on the call in connection to several breaches of fiduciary obligations by leadership. Plaintiff
continues by referencing to Ms. David that the Enterprise would bring-in a “Black Women-in” to address
this discriminatory conduct and how “women are usually brought-in to address issues” (J.P. Morgan
Chase Board Member Crandall Bowels would later step-down from the Board and Mellody Hobson
would be appointed — Public Responsibility and Audit Committee in March of 2018, even though Plaintiff
references that she had been auditioning for the role months prior to the appointment by making public
appearances on in coordination with J.P. Morgan Chase & Co.).

79, Plaintiff continues that a combination of communications by the Plaintiff to the Respondent and
the acquisition of the Plaintiff's communication without the consent of the Plaintiff by the Respondent
would spree a shift in Global Diversity and Inclusion awareness across several industries, to compensate

for their reckless, egregious and in accordance’s to several scenarios that the plaintiff referenced during a

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dinner on August 17, 2017 in Washington D.C. on K street that the Plaintiff alleges would put each
respective Enterprise on Edge and that the Plaintiff referenced that the J.P. Morgan’s most legitimate
successor was Jes Steley — CEO of Barclay!

80. It would single-handily shift the direction of the Enterprise as publicly referenced in an interview
on November 9, 2017 in New York City by a reporter Brent Montgomery from the Hollywood Reporter
made reference to the Plaintiff's communication to a phrase that the Plaintiff mentioned during dinner
“HR/PR” at (29:05) how a one-off or single-handed statement can change the organizational structure of a
company during the event hosted by the New York Times and moderated by Andrew Sorkin and the
question was directed to Kenneth Chenault — Chairman & CEO of American Express and Larry Fink —
Chairman & CEO of BlackRock, Plaintiff continues by referencing that he provided an unique method to
inducing change that would be repeated in on December 3, 2018 interview.

81. Plaintiff continues by referencing during the August 17, 2017 dinner, that the Executives didn’t
just hurt their personal and professional reputation and that they would give each other-up to reserve their
reputations, but that also exposed their Enterprises to Risk (i.e. Sovereignty Risk, Geo-Political Risk,
Reputation Risk, Harm Shareholder, Harm to the Global Economy and on & on) and the fact that they
brought-in another party to aid them with the process was even worst. On October 25, 2017, David
Rubenstein would step-down from the Carlyle Group as Co-CEO and he would make a series of public
interviews to sustain the perception of strengthen and attempt to aid J.P. Morgan — Jamie Diamond due to
the harm to that Enterprise and those Executives. Plaintiff continues by referencing that on January 23,
2018 at the World Economic Forum — The Next Financial Crisis, similar communication would be
“echoed” by Vice Chairman Fang Xinghai - China Securities Regulatory Commission and focused on the
“containment” of an Enterprise that posed a risk to the entire system as the communication of the
Executives conduct spread globally with the attendance of (Barclays CEO — Jes Staley, Citigroup CEO —
Michael Corbat, The Carlyle Group Co- Chairman — David Rubenstein).

82. Plaintiff continues by referencing that the enterprise would embrace the Plaintiff intellectual
capital and change business models, promote Executive into new positions as the Plaintiff referenced.
Plaintiff continues that his intellectual property “Big Ideas” would be implemented not only by J.P.

Morgan Chase & Co. but it would be embraced by other Enterprises on Wallstreet.

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83. Plaintiff continues by referencing that opportunities in African and also referenced a two family
friends that are prominent Executives. Plaintiff continues by referencing a plan for Africa’s growth over a

napkin, as follows;

“You Must make the Continent Attractive for Investment”

A Media
B Culture
I. Music
I. Movies
NL Sports - Basketball
C Policy ~ Leadership - international Aid
D. IntraTrade - Trade Agreements - Africa Free Trade Agreement
E. Women in Power - Collaborative Engagement
F Healthcare
G, Infrastructure Deals - Belt & Road - ESG

H. Mitigate Corruption
and the Executives would open-up Africa as referenced on August 17, 2017.

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84. Plaintiff continues by referencing that on September 9, 2017, the plaintiff was intercepted again
in Baltimore, M.D. at a restaurant by an individual who referred himself as Jeffrey B. Clancy a New York
based attorney from — Willkie Farr & Gallagher. Plaintiff alleges that the interaction was meant to aid
the Plaintiff in to re-reference his notes and attempt to recall all the facts and events that transpired during

the course of his discharge as the entire event needed to be flushed-out again further. The Plaintiff alleges

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that Jeffrey B. Clancy sent an employee/consultant to intercept the Plaintiff and advise the plaintiff that
Mr. Jamie Diamond - CEO of J.P. Morgan Chase was involved in Mr. Obia’s discharge. Mr. Clancy
also referenced that “All your friends took the money & Opportunity”

85, On July 21, 2017 at 4:59 P.M., Plaintiff received communication (malware) from Kim Teta
(Clarissa Ramos-Cafarell’s administrative assistant). Plaintiff continues by referencing that the embedded
attachments had compressed of phishing software to aid the Defendants to conduct data mining exercises,
gathering of forensics from the Plaintiff's computer hard drive, mobile devices which would give the
Respondent 24by7 access to the Plaintiffs communication. Plaintiff continues by referencing that this
give the Respondent access to his IP addresses, breaking the encryption of the Plaintiff's text message
communication, hence furthering the Defendants invasion of privacy, while interfering with the Plaintiff's
personal relationships with the intent to “choke” his access to resources and an attempt to silence the
Plaintiff.

86. On July 21, 2017, the plaintiff received communication from Jay Tyler —- CFO of the FDA
concerning a follow-up meeting over lunch, from the Plaintiffs last communication pertaining
employment opportunities at the FDA. Plaintiff continues by referencing that the Respondents

engaged in intrusive conduct by listening to the Plaintiff's communication through the use of a

Parabolic microphone outside the restaurant to intercept the Plaintiff's communication. Plaintiff continues
by referencing during the Respondent would continue to engage in reckless conduct on the basis of

furthering there “serial criminal conduct” and by also abusing government officials.

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Uber Hid 2016 Breach, Paying
Hackers to Delete Stolen Data

   
   

Uber’s headquarters In San Francisco, The ride-halling company daid information on driver arid
rider names, emalls and telephone numbers had been compromised in a data breach,
Ryan Young for The New Yoru Times

Just §46,96 $9.99 a month, SUBSCAIBE =>

 

87. Plaintiff continues by referencing that the Respondent would engage in additional invasion of the
Plaintiff's privacy by hacking into the Plaintiff's mobile device and manipulating with the

Plaintiff's Uber application. Plaintiff with the intent to seduce the plaintiff and strategically

placing attractive women “seduction” into the Plaintiff's Uber Rides and every single ride was
intentionally and drastically discounted as followed;

Hacked Trips

¥ On October 20, 2017 at 12:27 P.M., From 131 M street NE, Washington D.C. To 22 Independence Ave. SW,
Washington D.C. - 2.5 Miles $ .35

¥ On October 20, 2017 at 9:36 A.M. From 611 H St NW, Washington D.C.20006 To - 1.3 miles - $ .69

¥ October 20, 2017 at 8:59 A.M. From 3800 Reservoir Rd NW, Washington, DC 20007 To 727 17" Street N.W.
Washington D.C. — 3.9 miles $0.00

¥ On October 20, 2017 at 2:24 P.M. From 1707a L St. N.W., Washington D.C. 20036 To 100 Florida Ave N.E.

Washington D.C.- 2.0 miles $.31

88. Julie Ginsberg referenced that she will schedule a follow-up call concerning the rationale
concerning the discharge and went back and forth concerning the alleged expenses at question.
Ms. Ginsberg later referenced that it wouldn’t be a bad idea form the plaintiff to seek legal
support, as the Plaintiff alleges that Ms. Ginsberg saw a clear discrepancy with internal
investigation and rationale for discharge.

89. Plaintiff spoke with J.P. Morgan STD (Short Term Disability) management team and they

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referenced that Plaintiff was unlawfully discharged as the plaintiff was still covered by

Washington D.C. FMLA (had a remainder of over 100 hours of coverage) and was able to send

that communication to the Plaintiff. Plaintiff later filed a complaint with the Office of Human

Rights in Washington D.C. on August 4, 2017. Seven days post the filing of that complaint with

The Office of Human Rights in Washington D.C., plaintiff alleges that he was under surveillance

by J.P. Morgan because the Executive of record to that complaint was John Donnelly — J.P.

Morgan’s Head of Human Resources (In connection to the deceptive methods of attempts to

discharge the Plaintiff) was replaced as the Head of HR on August 10, 2017 and be named the

Vice Chairman of HR (reporting directly to Jamie Diamond — CEO of J.P. Morgan Chase &

Co.) while being replaced by Robin Leopold, the complaint was never shared with the

Defendant.

90. In or around the third week of August of 2017, Plaintiff alleges that all Defendants continued to
engage in the repulsive conduct against by converting the Plaintiff's apartment into a

“laboratory and extracting information from the Plaintiff's apartment, while making the

Plaintiff an experimental subject through the monitoring of the Plaintiffs medical condition, sleeping
patterns and etc, Plaintiff continues by referencing that these medial assessments were gained by
fabricating, false, misleading and defamatory information pertaining the Plaintiff (falsely incarcerating the
plaintiff in a federal correctional jail and then placing the plaintiff into a halfway-house outside of
Washington D,.C.), even though the plaintiff was in communication with Mr. Karl Racine - Attorney
General of Washington D.C. on July 28, 2017 at 7:30 P.M. concerning obtaining legal representation,
while the plaintiff was under excessive and repulsive surveillance by the Defendants.

91. Plaintiff continues by referencing the gathering of the Plaintiffs Bio-metrics, Bio-Rhythms and
Human Behavioral data of the Plaintiff in his home by using Consulting firms, University Researchers and
Medical Professionals on the basis of gathering forensics (Metadata, Medical Samples, Electronic
Discovery) to conduct predictive analytics. Plaintiff continues that the Respondent engaged in healthcare
informatics (i.e. sharing of the plaintiff's medical information amongst providers and vendors without the
consent of the plaintiff via IBM Watson as referenced by Patricia David during a Town Hall at Fordham

University “ Diversity Matters in Business”) and the Plaintiff continues by referencing that the

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respondents engaged in other methods such as precision medicine in coordination of publicly accusing the
Plaintiff of comminuting a crime - felony, hence causing further public humiliation in the Plaintiff's place
of residence and further subjecting the Plaintiff's to further humiliation at the Plaintiff's Educational
Institution — American University were Peter Scher sits on the Board of Director.

92. Plaintiff continues by referencing that the Respondent is used the services of Consulting firms
(Sean Steele - InfoLocke Systems, Angela Lewis - Booze Allen Hamilton), University Researchers
(Mariko Moher — Willams College Early Child Development Center and Jose Aparicio — Johns
Hopkins Perception & Mind Laboratory Center), Ms. Mariko Moher, shewould then transfer to
Connecticut College and take a role in the Office of Leadership and Gifts/Giving and as a Leadership
Gifts Officer, which is the Alma meter of Mr. David Rubensteins Ex-wife, Ms. Alice Rogoff and other
professionals to gather forensics while coordinating with the Plaintiffs Bozzuto Management Co.
landlords. Plaintiff continues by referencing that his Property Managers/Owners and building owners were
aware of the conduct and that on August 28, 2017, a meeting was held in the club house and that the
following associated owners’ licenses plates are listed below, cupolaed with Sarah Scher — Bozzuto
Management Landlord having knowledge of the intrusive conduct. Plaintiff continues by referencing that
on October 4, 2017, Plaintiff received notification from Mauld Holt - Administrator and Health Care
Ombudsman confirming that the Plaintiff's name was in-bedded in Washington D.C.’s Healthcare as
being an incarcerated applicant. Ms. Holt continued by referencing that the Plaintiff had been allegedly
released from a “half-way” House on September 17, 2017, which is one day from when the Plaintiff
partially moved away from his apartment in Washington D.C. Plaintiff later made communication to the
Jeffrey F. Varone - CEO Hope Village and confirmed with this team that the Plaintiff had never been in
their system on October 9, 2017. On October 11, 2017 at 11:03 am., Gary Watts — Washington D.C.
Employee would remove the defamatory communication concerning the Plaintiff from Washington D.C.’s
system, due the false representation of the Plaintiff in connection to the Defendant’s reckless conduct.
Plaintiff alleges that the Respondents would continue to interfere with the Plaintiff's medical visits,
records on October 26, 2017 (Baltimore), November 21, 2017 (New York), December 23, 2017
(Washington D.C.) and around February 2018 (Washington D.C.) by using methods such as intruding on

medical visit’s, tampering with the Plaintiff's medical records and fabricating a diagnosing of having

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Hypertension and attempting to coordinate the plaintiff's care with the aid of physicians. Plaintiff
continues by referencing at one that Jamie Diamond publicly disclosed and referenced that the Plaintiff
had a medical condition with his heart and other privately help medical information pertaining the
Plaintiff. Plaintiff continues by referencing that, in the attempt to return to the Plaintiff's apartment, post
his departure, HR would force the Plaintiff's eviction due to the humiliation that the Plaintiff had endured
in the further retaliation from the Respondents and by having the Plaintiffs landlord sign-off on the
Plaintiff's eviction “AR — Human Resources” on December 1, 2017. Plaintiff continues by referencing
that the Respondent conspired with the Plaintiffs landlord to create original content of the Plaintiff's
activities through video surveillance.

93, Plaintiff continues by referencing that the Respondent engaged in other intrusive and humiliating
conduct by disclosing the Plaintiff's medical condition throughout the entire business community and then
having this communication repeated at The World Economic Forum during a session: Data Responsibility
in a Fractured World through a gesture by Ginni Rometty - CEO of IBM who Jamie Diamond confirmed
to be his friend on CBS September 20, 17, while additional communication made by other CEO’s at The

World Economic Forum.

Licenses Plate

1), VJU 7140 VA 2).8CP 7032 MD 3), VLZ 4533 VA. 4), VUD 1364 VA

HOME INVASION PROCESS Eviction Process

 

 

 

 

 

 

94. Plaintiff continues by referencing that the defendant’s gathered nude images of the Plaintiff and
disseminated this content (masturbation), then recreating the humiliation via broadband television and

cauterizing the content as “hand modeling & living my best-life” via other methods of publication.

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harm and shame to the Plaintiff's to friends. Plaintiff continues by referencing that the

Respondents would continue by mass publication of defamatory communication through several

channels (i.e. Radio, Television, Motion Picture and Print) as a means of professional retribution for
exposing unethical conduct.

95. Plaintiff continues by referencing that the individuals that would be used in these mass
publications of defamatory communication were people that the Plaintiff had direct or in-direct
relationships with and were also names that the Plaintiff referenced during his August 17, 2017 dinner.
Additionally, the publication would also reference the Plaintiff's consumption of food (i.e. Across various
publication methods, i.e. Milken Conference MSNBC - Filling the Global Infrastructure Gap 2019,
Netflix: Aziz Ansari) through the gross invasion of the plaintiff's privacy. Plaintiff continues by
referencing that the Respondents would continue to engaged in the repulsive conduct by engaging in
means of humiliating the Plaintiff's family members in and having this communication disbusted via large
audiences.

96. Plaintiff continues by referencing, not only would the enterprise use the Plaintiff intellectual
property to re-organize its internal businesses, but the Plaintiff “Big Ideas” would be used by other
entities as well. Plaintiff continues by referencing those “Big Ideas” would spurred the global penetration
towards diversity and how it could positive impact business models, but how it would aid some “C-Suite
Executives” approach complex problems through a unique lens. Plaintiff continues by referencing that the
his “Jntellectual Capita?’ would shift multiple industry’s and restructure several business models (Forced
Change Diagram) through the lens of diversity, collaborations and open dialogue through the acquisition
of his communication as Kim Teta — J.P. Morgan Executive referenced to the Plaintiff “Your Phone” as
the Respondents had ‘‘24by7” access to the Plaintiff's Apple IPhone, which was also mentioned in the

November 9, 2017 interview.

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97. Plaintiff references that the Respondents went to the Plaintiff's Universities to gather the

Plaintiff's records on September 21, 2017 and during a communication that was had between the
Plaintiff and Claudia Hoffman — Director at American University, she referenced that “no

one” can gain access to the Plaintiff's medical records as the Plaintiff alleges that the

Respondents attempted to access and also referenced “Accounting” in connection to the error that

the Plaintiff discovered at work and the communication that had spread to the Plaintiffs

University due the Respondents attempt to manage the crisis. Plaintiff continues by references

that the Respondent would engage in further reckless conduct by harming Morgan State

University and also directing resources to Morgan State University as the original source of the

conduct, with the intent to further spread the reckless conduct and publicly accusing the Plaintiff

of “criminal conduct’ to shift the narrative away from the Respondents global repulsive conduct.
Plaintiff continues by referencing that in connection to the nefarious, humiliating, ultra-hazardous

and toxic defamatory communication pertaining, the communication would spread through the Plaintiff's
University. On August of 2017, the Plaintiff had a series of engagements at American Universities Pence
Library and the Plaintiff had the opportunity to connect with Khelani Clay — American University
Liberians. During one of the interactions with the Liberian, she referenced “LAWSUIT” prior to the

plaintiffs August 22, 2017. Plaintiff references that the content was intentional spread across the Plaintiff

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place of Education with the intent to further humiliate the Plaintiff at American Universities and through-
out Washington D.C., by referring to the Plaintiffas “Crazy, Paranoid and Mentally Unstable”. Plaintiff
continues by referencing that on August 22, 2017, Officer Jones & Officer Graham at American
University approached Plaintiff while seated at a computer terminal in Pence Law Library for an alleged
disturbance on the basis of asking questions to the Liberian at the University.

98. The two Officers asked that the Plaintiff to step into the hallway of Pence Library and began to
integrate the Plaintiff in front of by-standers. Plaintiff alleges that the Defendants used the interaction to
engage in furthering their medical assessments of the Plaintiff, while also attempting to fabricate a
rationale for discharging the Plaintiff as a Direct Threat, which the Plaintiff continues to allege occurred
days prior to his discharge.

99, Plaintiff gathered himself, entered back into the Pence Library and went to see Corp “Buck”
Johnson - Chief of Police at American University to explain what transpired and to ask for an
investigation. Corp. Johnson would return back - days later to the Plaintiff and reference that

nothing negative would come-out of the investigation as the Plaintiff was not a disruption at

American University. Plaintiff continues by referencing that on October 4, 2017, Plaintiff met with
former Professor and referenced that something occurred at work and that the Plaintiff had an interest to
enter into Education and that it would be great is Morgan State and HBCU’s received a series of resources
that would help these University expand and obtain national attention (i.e. Guest Speakers -—-

Public Relations, University Partnerships — Networking Events, Government Grants & Corporate
Partnerships. Plaintiff references that the Respondents would again create a spurred of

investments into these (Historical Black Colleges Universities) Universities in connection to their gross
misconduct and to also_circumvent Title XI Liability from the University and students who were aware of
the conduct.

100. Plaintiff continues that the mass publication of the Plaintiff's academic records or alleges
matriculation allegation, hence accusing the Plaintiff of a crime and causing harm not just to the Plaintiff,
but also to Morgan State_University and its student body. Plaintiff references that Morgan State’s
President — David Wilson would gathered a group of students and created a campaign “We Graduate” to

mitigate the harm and attempt to re-project the University’s image in a positive manner and to attract

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Kendrick LaMar, while the Respondents also aided other HBCU’s that may-have been harmed by the
Respondent conduct_through the support of their associated partners and customers, before strengthening
its partnership efforts with HBCU through its Advancing Black Pathway Initiative. Plaintiff continues by
referencing that defamatory communication would be made through public forums by celebrities, actors
and business Executives Globally.

Diagram

    

 

 

Historically Black College Universities

Public Refations » Ty ' {_]

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March 17, 2019
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101. Additionally, Plaintiff alleges that in connection with the defamatory communication against the

University and Plaintiff, I continue that President Wilson was given a “Board of Director —Lumina
Foundation” through the services of Vox Media and its Associates on January 5, 2018 and would be
notified on January 22, 2018 by Maggie Kinnealey and Katie Miller from VOX Global (Crisis
Management Firm in Washington D.C) in Washington D.C. at the Plaintiffs medical visit. One of the
individuals made contact with the Plaintiff with the intent to gain insight into the Plaintiff employment
discharge and also referenced that they were sent by Peter Scher_and that Morgan State had interfered with
the Plaintiff's academics in connection to the associated conduct with the Plaintiff's employment. Plaintiff
continues by referencing that on_ February 6, 2018, Plaintiff made communication with VOX Global
concerning the interaction on January 22, 2018 and then on February 7, 2018 Morgan State University

would publicly renew President David Wilson’s employment agreement with the University.

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102. Plaintiff references that the Enterprise Executive Peter Scher coordinated this process to remove
liability from American University where he is a Board member and his associated conduct. Additionally,
Plaintiff continues that the November 22, 2017 interview between Mellody Hobson and Jamie Diamond
at The Economic Club in Chicago was due to the Plaintiff's request for accountability and during the
interview at 51:45 the plaintiff's communication was repeated from July 21, 2017 communication with
HR Executive Patricia David. Jamie Diamond would continuance refer to an internal harassment issue
which the Plaintiff references was pertaining the Plaintiff's discharge and then references that “50% of
students in inner-city schools don’t graduate” as a continuation of the Respondents Public Relations
campaign associated with the public disclosure of the Plaintiff's discharge. Plaintiff continues by
referencing that the Respondent would continue to engage in its ultrahazardous and egregious defamatory
communication about the Plaintiffs allege inabilities. On December 8, 2018, J.P. Morgan would make a
$6 million donation to Washington D.C. largest school districts to help to expand the pipeline of students
studying technology-related fields “Boost local Tech Workforce” in Washington D.C. as a means to
cover-up the intentional discriminatory conduct and harm to the Reputation of the organization and
egregious conduct in Washington D.C.

103. Mr. David Rubenstein would step down as Co-CEO of the Carlyle Group and move into the role
of Co-Chairman, allegedly in connection to the malfeasance against the Plaintiff on October 25,

2017. On December 18, 2018, Plaintiff made communication to The Carlyle Groups General Counsel -
Jeffrey Ferguson and he referenced that Mr. Rubenstein acted on his own behalf and referenced that his
conduct was not under the umbrella of the Enterprise. Plaintiff continues by referencing that due to Mr.
Rubenstein conduct, he would influence the de-stabilization of not just his Enterprise, but would also
allegedly affect J.P. Morgan Chase & Co., hence causing The Carlyle Group to re-structure its
management as well as J.P. Morgan Chase & Co. Glenn Yougkin & Kewsong Lee as Co. CEO’s of The
Carlyle Group on October 25, 2017 with an effective appointment on January 1, 2018.

104, Plaintiff continues by referencing that he would receive death threat over the course of several
months and the Plaintiff alleges that the Defendants consistently still use unlawful surveillance

on the Plaintiff, by stalking and intercepting the Plaintiffs travel, hence endangering the Plaintiffs well-

being and stripping the Plaintiff of his dignity (i.e. On November 30, 2017 Plaintiff references that the

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Defendants stalked the Plaintiff from Baltimore to Washington D.C. via train and then Diane Padilla —
J.P. Morgan Executive Director General Counsel called the Plaintiff at 12:12 P.M., Plaintiff would be
followed from Washington D.C. to New York City by a former government official on November 2, 2017,
November 2, 2017, Plaintiff would be intercepted at Cuny University in New York City, On November
30, 2017, Plaintiff references that the Defendants stalked the Plaintiff from Baltimore to Washington D.C.
via. train and then Diane Padilla — J.P. Morgan Executive Director & General Counsel called the
Plaintiff at 12:12 P.M. while the stalker waived at the Plaintiff Standing outside of the Plaintiff's home

on March 2, 2018 and intercepting the Plaintiff's communication.

Cause of Action

Count | - Claim for Relief
Tortuous Interference

Plaintiff references that David Rubenstein intentionally forced & induced J.P. Morgan Chase & Co. to
break its contractual obligation to the Plaintiff, hence the pervasive and repulsive conduct against the
plaintiff during and post the plaintiff's employment with J.P. Morgan Chase & Co. Plaintiff references
that to prevail, one must establish a prima facie case; 1). The existence of a valid contract between the
plaintiff and a third party, 2). The respondent’s knowledge the contract, 3). The respondent’s intentional
procurement of the third-party’s breach of the contract without justification, 4). Actual breach of the
contract and the interference was improper 5). Damages resulting from the employment interference.
Plaintiff has sustained, and will continue to sustain, economic and emotional injuries, resulting in
damages in an amount to be proven at trial. Defendant’s unlawful actions were intentional, willful,
malicious, and/or done with reckless disregard to Plaintiffs right to be free from discrimination.

Plaintiffs are entitled to their reasonable attorney’s fees and costs of suit.

Count 2 - Claim for Relief
Vicarious Liability

Plaintiff references that he Enterprise was intentionally negligent in regards to supervising the associated
Executives conduct and allowed and encourage the furtherance of the harassment against the Plaintiff as it
was not only encouraged internally, but also encouraged by third-parties with the intent to impose harm to
the Plaintiff with the endorsement of the Enterprise and the Plaintiff continues by referencing that the
Enterprise is jointly directly liable for the harm created by its Directs and Officers as the Enterprise failed
to act after the Plaintiff notified the Enterprise of the pervasive harassment and had the opportunity to stop

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and prevent the conduct as the Plaintiff alleges that the conduct was occurring on behalf of the direction of
Enterprise. Plaintiff references that to prevail, one must establish a prima facie case 1). The person who
committed the tort must be an employee, 2). The tot must be committed in the course of employment.

3). The conduct of the employees benefited the employer. Plaintiff has sustained, and will continue to
sustain, economic and emotional injuries, resulting in damages in an amount to be proven at trial.
Defendants’ unlawful actions were intentional, willful, malicious, and/or done with reckless
disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs of suit.

Count 3 - Claim for Relief
The Americans with Disabilities Act 1990 — Desperate Treatment - 42 U.S.C 12101

Plaintiff references that the respondent engaged in willful, repetitive and discriminatory conduct against
the Plaintiff in violation of the Act. Plaintiff continues by referencing that the respondent (i.e. employer to
discriminate against an individual with a disability in regard to any term, condition, or privilege of
employment, including leaves of absence, sick leave, or any other leave). Plaintiff references that to
prevail, one must establish a prima facie case; 1). The employee has a disability as defined by the ADA,
2). The employee informed the employer of his or her condition and requested an accommodation, 3).
There was an accommodation available that would have been effective and would not have posed an
undue hardship to the employer and 4). The employer failed to provide an accommodation. Plaintiff has
sustained, and will continue to sustain, economic and emotional injuries, resulting in damages in an
amount to be proven at trial. Defendants’ unlawful actions were intentional, willful, malicious,
and/or done with reckless disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are

entitled to their reasonable attorneys’ fees and costs of suit,

Count 4 - Claim for Relief
The Americans with Disabilities Act 1990 — Desperate Impact - 42 U.S.C 12101

Plaintiff references that due to the respondent’s intentional discriminatory conduct against the Plaintiff
was in violation of the Act, Plaintiff continues by referencing that the respondents conduct (i.e. Unfair
treatment and that the respondent’s disciplinary practice was statistically not in-line with other similarly
situated employees and the reason provided to the Plaintiff was pre-textual.) Plaintiff references that to
prevail, one must establish a prima facie case; 1). The employee is a member of a protected class
(Race/disability), 2). The employee was qualified for a job benefit and as the employee applied for the job
and qualified for the open position, 3). The employee was denied the job benefit and then fired, 4), The
benefit remains available and was granted to someone outside of the protected class. Plaintiff has
sustained, and will continue to sustain, economic and emotional injuries, resulting in damages in an
amount to be proven at trial. Defendants’ unlawful actions were intentional, willful, malicious,

and/or done with reckless disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are

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entitled to their reasonable attorneys’ fees and costs of suit.

Count 5 - Claim for Relief
The Washington D.C. Human Rights Act — Genetic Information - 2-1403.16

Plaintiff references that through several intrusions of the Plaintiff's personal and confidential information,
the respondent continued to interfere with the Plaintiff's medical information. Plaintiff continues by
references that the respondent took reckless and egregious means to gather the Plaintiff's medical
information through the intrusion of the Plaintiff's home without the Plaintiff's consent. Plaintiff
references that to prevail, one must establish a prima facie case; (1) she is a member of a protected class;
(2) she suffered an adverse employment action; and (3) the unfavorable action gives rise to an inference of
discrimination. Plaintiff has sustained, and will continue to sustain, economic and emotional injuries,
resulting in damages in an amount to be proven at trial. Defendants’ unlawful actions were
intentional, willful, malicious, and/or done with reckless disregard to Plaintiffs’ right to be free from

discrimination. Plaintiffs are entitled to their reasonable attorneys’ fees and costs of suit.

Count 6 - Claim for Relief
The Washington D.C. Human Rights Act — Matriculation 2-1403.16

Plaintiff references that the respondent direct and intentional conduct subjected the Plaintiff to mass
humiliation in connection to the Plaintiffs alleged lack of matriculation. Plaintiff continues that this
conduct has caused harm to the Plaintiffs reputation to his social and professional statues through the mass
publication (i.e. Mass Media) with the attempt to discredit and the Plaintiffs lack of qualifications and
capabilities as a pretextual tactic in connection with the respondent’s media camping. Plaintiff references
that to prevail, one must establish a prima facie case; (1) she is a member of a protected class; (2) He
suffered an adverse employment action; and (3) the unfavorable action gives rise to an inference of
discrimination. Plaintiff has sustained, and will continue to sustain, economic and emotional injuries,
resulting in damages in an amount to be proven at trial. Defendants’ unlawful actions were
intentional, willful, malicious, and/or done with reckless disregard to Plaintiffs’ right to be free from

discrimination. Plaintiffs are entitled to their reasonable attorneys’ fees and costs of suit.
Count 7 - Claim for Relief

The Washington D.C. Human Rights Act — Credit Information - 2-1403.16

Plaintiff references that the Respondent continued to engage in additional means to subject the Plaintiff
through its series of campaign and in direct violation of the Act by further subjecting the Plaintiff to
professional and social harm through to exposure of the Plaintiff credit worthiness through Mass Media
publication. Plaintiff references that to prevail, one must establish a prima facie case; (1) He is a member

of a protected class; (2) she suffered an adverse employment action; and (3) the unfavorable action gives

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rise to an inference of discrimination. Plaintiff has sustained, and will continue to sustain, economic
and emotional injuries, resulting in damages in an amount to be proven at trial. Defendants’
unlawful actions were intentional, willful, malicious, and/or done with reckless disregard to
Plaintiffs’ right to be free from discrimination. Plaintiffs are entitled to their reasonable attorneys’

fees and costs of suit.

Count 8 - Claim for Relief
The Washington D.C, Human Rights Act — Religion Beliefs 2-1403,16

Plaintiff references that the respondent engaged in willful and intentional discrimination against the
Plaintiff by invading the Plaintiff privacy with-in the Plaintiff's place of residence and subjecting the
Plaintiff to public radical and engaging in bigotry to mass audiences due to the Plaintiff beliefs and non-
beliefs. Plaintiff references that to prevail, one must establish a prima facie case; (1) He is a member of a
protected class; (2) she suffered an adverse employment action; and (3) the unfavorable action gives rise
to an inference of discrimination. Plaintiff has sustained, and will continue to sustain, economic and
emotional injuries, resulting in damages in an amount to be proven at trial. Defendants’ unlawful
actions were intentional, willful, malicious, and/or done with reckless disregard to Plaintiffs’ right to
be free from discrimination. Plaintiffs are entitled to their reasonable attorneys’ fees and costs of
suit,

Count 9 - Claim for Relief
The Washington D.C. Human Rights Act — Personal Appearance 2-1403.16

Plaintiff references that the respondent willfully engaged in discriminatory and humiliating and repulsive
conduct in connection to the Plaintiff’s personal appearance and through the intrusion of the Plaintiffs
personal privacy. Plaintiff references that to prevail, one must establish a prima facie case; (1) He is a
member of a protected class; (2) she suffered an adverse employment action; and (3) the unfavorable
action gives rise to an inference of discrimination. Plaintiff has sustained, and will continue to sustain,
economic and emotional injuries, resulting in damages in an amount to be proven at trial.
Defendants’ unlawful actions were intentional, willful, malicious, and/or done with reckless
disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs of suit.
Count 10 - Claim for Relief

The Intentional Infliction to Cause Emotional Distress

Plaintiff references that the respondent engaged in intentional and reckless means to cause harm to the
Plaintiff and his family through the unethical means of intrusion into the plaintiff's home and through the
exposure of privileged communication with the intent to subject the Plaintiff to humiliation, radical,

shame, in-decent exposure of private information and nudity. Plaintiff references that to prevail, one must

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establish a prima facie case; (1) He is a member of a protected class; (2) she suffered an adverse
employment action; and (3) the unfavorable action gives rise to an inference of discrimination. Plaintiff
has sustained, and will continue to sustain, economic and emotional injuries, resulting in damages in
an amount to be proven at trial. Defendants’ unlawful actions were intentional, willful, malicious,
and/or done with reckless disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are

entitled to their reasonable attorneys’ fees and costs of suit.

Count 11 - Claim for Relief
The Americans with Disabilities Act 1990 — Failure to Accommodate - 42 U.S.C 12101

Plaintiff continues by alleging that the respondent engaged in willful and intentional retaliation against the
Plaintiff through the denial of the Plaintiff's medical accommodation request that was approved by the
respondent’s internal Registered Nurse and which that Plaintiff references cause no undue hardship to the
Respondent. Plaintiff references that to prevail, one must establish a prima facie case; 1). The employee
has a disability as defined by the ADA, 2). The employee informed the employer of his or her condition
and requested an accommodation, 3). There was an accommodation available that would have been
effective and would not have posed an undue hardship to the employer and 4), The employer failed to
provide an accommodation. Plaintiff has sustained, and will continue to sustain, economic and
emotional injuries, resulting in damages in an amount to be proven at trial. Defendants’ unlawful
actions were intentional, willful, malicious, and/or done with reckless disregard to Plaintiffs’ right to
be free from discrimination. Plaintiffs are entitled to their reasonable attorneys’ fees and costs of

suit.

Count 12- Claim for Relief
Equal Pay Act 29 U.S.C. § 206(d)(1)

1, Plaintiff references that the Enterprise engaged in direct discrimination against the
Plaintiff in the course of hiring through willful compensation discrimination with the knowledge that the
Plaintiff would be subject to similar alike work by employees of opposite sex, similar level of skill,
significant portion of job task are similar and level experience. The differential in pay between male and
female employees was not due to a bona fide seniority system, a bona fide merit system, or a bona fide
system that measures employee earnings by quantity or quality of work, nor was the difference in pay a
result of a factor other than sex. Defendants caused, contributed to, or caused the continuation of wage
rate discrimination based on sex, in violation of the Equal Pay Act. As a direct, legal and proximate result
of the discrimination, Plaintiffs have sustained, and will continue to sustain, economic damages to be
proven at trial. As a result of Defendants’ actions, Plaintiffs have suffered emotional distress, resulting in
damages in an amount to be proven at trial. Plaintiff further seeks compensatory and punitive damages and
all other injunctive, declaratory, and monetary relief available for equal pay violations at trial, including

liquidated damages for all willful violations, prejudgment interest, attorneys’ fees and costs, and other

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compensation pursuant to 29 U.S.C. §216(b). Plaintiff references that to prevail, one must establish a

prima facie case;1). Paid an employee of an opposite sex different wages, 2). For substantially equal work,
3). In job that require substantially equal skill, effort, and responsibility, 4). That are performed under
similar working conditions. Plaintiff has sustained, and will continue to sustain, economic and
emotional injuries, resulting in damages in an amount to be proven at trial. Defendants’ unlawful
actions were intentional, willful, malicious, and/or done with reckless disregard to Plaintiffs’ right to
be free from discrimination. Plaintiffs are entitled to their reasonable attorneys’ fees and costs of

suit,

Count 13 - Claim for Relief
The Civil Rights Act of 1964 Title VII — Hostile Work Environment - 42 U.S.C, 2000e- 5(g)

Plaintiff alleges that the respondent engaged in willful and intentional discriminatory conduct and through
the “mixed motives theory”, the Plaintiffs Race was a motivating factor in the Respondents conduct
against the Plaintiff and the Plaintiff continues by references that by the preponderance of the evidence
that the stated reason given by the respondent was pretextual as the Plaintiff was a member of a protected
status. Plaintiff references that to prevail, one must establish a prima facie case; 1). Plaintiff continues by
referencing that he belonged to a protected group; 2). He was subject to unwelcome harassment 3). The
harassment was based on his membership in a protected group 4). The harassment was sufficiently
pervasive to affect a term, condition, or privilege of employment. 5). The employer knew or should have
known about the harassment but failed to take prompt, corrective action. Plaintiff has sustained, and will
continue to sustain, economic and emotional injuries, resulting in damages in an amount to be
proven at trial. Defendants’ unlawful actions were intentional, willful, malicious, and/or done with
reckless disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs of suit.

Count 14 - Claim for Relief
Deformation 12-301 (4)

Plaintiff references that the respondent willfully engaged intentional harm to the Plaintiffs reputation and
professional statue by engaging in publishing communication pertaining the Plaintiff through Mass Media
outlets in the attempt to preserve the respondent’s reputation. Plaintiff continues that this communication
was made via various outlets, hence subjecting the Plaintiff to radical, harm to the Plaintiffs charter,
integrity, financial well-being, morality and moral turpitude (i.e. Radio, Motion Picture, Books, Social
Media, Large & Public gathering). Plaintiff references that to prevail, one must establish a prima facie
case; 1). The defendant made a false and defamatory statement concerning the plaintiff; 2). The defendant
made an unprivileged publication to a third party; and 3). The publisher acted at least negligently in
publishing the communication. Plaintiff has sustained, and will continue to sustain, economic and

emotional injuries, resulting in damages in an amount to be proven at trial. Defendants’ unlawful actions

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were intentional, willful, malicious, and/or done with reckless disregard to Plaintiffs’ right to be free

from discrimination. Plaintiffs are entitled to their reasonable attorneys’ fees and costs of suit.

Count 15 - Claim for Relief
The Washington D.C. Human Rights Act — Retaliation - 2-1403.16

Washington D.C. Law strictly prohibits discrimination and makes it unlawful for an employer to “take
reprisals against any person because that person has opposed any practices or acts forbidden under this
act” or to “coerce, intimidate, threaten, or interfere with any person in the exercise or enjoyment of, or on
account of that person having aided or encouraged any other person in the exercise or enjoyment of, any
right granted or protected in this act.” Plaintiffs made informal and formal complaints to Defendants’
agents and employees opposing Defendants’ unlawful, discriminatory employment practices. Plaintiffs’
complaints were made reasonably and in good faith. As a result of Plaintiffs’ complaints, Defendants’
agents and employees took adverse actions against Plaintiffs, including, but not limited to, issuing
disciplinary warnings, such as; threats; reprimands by supervisors and agents policy aimed specifically at
Plaintiff. As a direct, legal and proximate result of Defendants’ reprisals, Plaintiffs have sustained, and
will continue to sustain, economic and emotional injuries, resulting in damages in an amount to be proven
at trial. ; (1) He is a member of a protected class; (2) she suffered an adverse employment action; and (3)
the unfavorable action gives rise to an inference of discrimination. Plaintiff has sustained, and will
continue to sustain, economic and emotional injuries, resulting in damages in an amount to be
proven at trial, Defendants’ unlawful actions were intentional, willful, malicious, and/or done with
reckless disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs of suit.

Count 15 - Claim for Relief

Washington D.C. Deceptive and Unfair Trade Practices 28-3904
Plaintiff alleges that prior to accepting employment with the Respondent, Plaintiff was misled on the
terms and conditions of the Respondent’s diversity and inclusion program and how all employees would
be treated fairly without non-inclusive work environment, encouraged by Leadership. Plaintiff continues
be referencing that the Respondent engaged in false advertising of employment compensation and other
terms and conditions of employment (i.e. Disciplinary Practices). Plaintiff continues by referencing that
the unfair or deceptive practices caused the Plaintiff psychological, professional and social harm to the
Plaintiffs reputation and future economic accomplishments as the conduct had a proximately caused
actual injury to the Plaintiff. As a direct, legal and proximate result of Defendants’ reprisals, Plaintiffs
have sustained, and will continue to sustain, economic and emotional injuries, resulting in damages in an
amount to be proven at trial (1) An unfair or deceptive act or practice; (2) In or affecting commerce; which

(3) Proximately caused actual injury to the Plaintiff. Plaintiff has sustained, and will continue to

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sustain, economic and emotional injuries, resulting in damages in an amount to be proven at trial.
Defendants’ unlawful actions were intentional, willful, malicious, and/or done with reckless
disregard to Plaintiffs’ right to be free from discrimination. Plaintiffs are entitled to their

reasonable attorneys’ fees and costs of suit.

DECLARATORY RELIEF ALLEGATIONS

A present and actual controversy exists between Plaintiffs and Defendants concerning their rights and respective
duties. Plaintiffs contend that Defendants violated their rights under Civil Rights Act of 1964 Title VII, The
Washington D.C Anti-Discrimination Provision, The Equal Pay Act, Unfair Trade Practices and The American
with Disabilities Act 1990, Plaintiffs are informed and believe and thereon allege that the Defendants deny these
allegations. Declaratory relief is therefore necessary and appropriate. Plaintiffs seek a judicial declaration of the rights

and duties of the respective parties.

INJUNCTIVE RELIEF ALLEGATIONS

No plain, adequate, or complete remedy at law is available to Plaintiffs to redress the wrongs addressed herein. If this

Court does not grant the injunctive relief sought herein, Plaintiffs will be irreparably harmed.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for relief as follows: For a declaration that Defendants’ actions, policies, and practices
as alleged herein are unlawful; For reinstatement; For lost wages and all other compensation denied or lost to
Plaintiffs by reason of Defendants’ unlawful actions, in an amount to be proven at trial;

For compensatory damages for Plaintiffs’ emotional pain and suffering, in an amount to be proven at trial;

For punitive damages in an amount to be determined at trial; For liquidated damages; For interest on lost wages,
compensation, and damages, including pre- and post-judgment interest and an upward adjustment for inflation; For an
order enjoining Defendants from engaging in the unlawful acts complained of herein;

For reasonable attomeys’ fees and costs of suit pursuant to all associated claims and for such other and further relief

as this Court deems just and proper.

Dated: August 2, 2019 '
Resp I nitted,

By:

 

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Plaintiffs demand a jury trial on all causes of action and claims to which they have a right to a
jury trial,

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